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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
______________________________________
                                       )
FLOOR64, INC., et al.,                 )
                                       )
       Plaintiffs,                     )
                                       )
       v.                              ) Civil Action No.: 19-1499 (CKK)
                                       )
U.S. IMMIGRATION AND CUSTOMS           )
ENFORCEMENT,                           )
                                       )
       Defendant.                      )
______________________________________ )

                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       By and through its undersigned counsel, defendant, U.S. Immigration and Customs

Enforcement (“ICE”), respectfully moves for summary judgment pursuant to Rule 56 of the

Federal Rules of Civil Procedure. ICE has satisfied all of its obligations pursuant to the Freedom

of Information Act in response to plaintiff’s request for records. In support of this motion, the

Court is respectfully referred to ICE’s Memorandum of Points and Authorities, Statement of

Material Facts, the enclosed declaration, Vaughn index, and declaration of Toni Fuentes with

exhibits.

       A proposed order consistent with the requested relief is filed herewith.
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                     Respectfully submitted,

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                     United States Attorney

                     DANIEL F. VAN HORN, D.C. Bar No. 924092
                     Chief, Civil Division

               By:    /s/ Damon Taaffe
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                       UNITED STATES DISTRICT COURT
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       v.                              ) Civil Action No.: 19-1499 (CKK)
                                       )
U.S. IMMIGRATION AND CUSTOMS           )
ENFORCEMENT,                           )
                                       )
       Defendant.                      )
______________________________________ )

                                      PROPOSED ORDER

       Upon consideration of defendant’s motion for summary judgment and plaintiffs’

opposition thereto, defendant’s motion is GRANTED. Judgment is hereby entered in

defendant’s favor. This is a final, appealable order.

       SO ORDERED.



____________________________                            _____________________________
Date                                                    Colleen Kollar-Kotelly
                                                        United States District Judge
